Case 2:14-cV-00228-.]ES-CI\/| Document 1 Filed 04/21/14 Page 1 of 8 Page|D 1

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MIDDLE DIsTRlcT oF FLoRIDA
CASENO_: ll»APRZl PH l=liB
HOWARD COHAN, . . cLEm\'. us mr w z v ‘ -»
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Plaimim Fr. MYERs. rtomoA
vs. INJuNcTIVE RELIEF soUGI-lr
THE FLoRlDA PAVILION cLuB
coNDoMINIUM AssoclATloN, INC., a
Florida corporation, also d/b/a PAVILioN l z k m
coNDoMINlUMs - wATERFRoNT 2= -c..\_/_=M=thg q
vAcArIoN RENTALS,

Defendant(s).

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COMPLAINT
Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned counsel,
hereby files this Complaint and sues THE FLORIDA PAVILION CLUB CONDOMINIUM
ASSOCIATION, INC., a Florida Corporation, also d/b/a PAVILION CONDOMINIUMS -
WATERFRONT VACATION RENTALS (“Defendant”), for declaratory and injunctive relief,
attorneys’ fees, expenses and costs (including, but not limited to, court costs and expert fees)
pursuant to 42 U.S.C. §12182 et. seq., and the 2010 Americans with Disabilities Act (“ADA”)

and alleges as follows:

JURISDICTION AND VENUE
l. This Court is vested with original jurisdiction over this action pursuant to 28
U.S.C. §1331 and 28 U.S.C. §343 for Plaintifi’s claims arising under Title 42 U.S.C. §12182 et.
seq., based on Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§2201 and

2202 as well as the 2010 ADA Standards.

Case 2:14-cV-00228-.]ES-CI\/| Document 1 Filed 04/21/14 Page 2 of 8 Page|D 2

2. Venue is proper in this Court, Fort Myers Division, pursuant to 28 U.S.C.
§1391(B) and Rule l.02(c) of the Local Rules of the United States District Court For the Middle
Dis_trict of Florida in that all events giving rise to the lawsuit occurred in Collier County, Florida.

PARTlES

3. Plaintiff, HOWARD COHAN is sui juris and is a resident of the state of Florida
residing in Palm Beach County, Florida.

4. Upon information and belief, Defendant is the lessee, operator, owner and lessor
of the Real Property, which is subject to this suit, and is located at 1170 Edington Place, Marco

Island, Florida 34145, (“Premises”) and is the owner of the improvements where the Premises is

located.

5. Defendant is authorized to conduct, and is in fact conducting, business within the
state of Florida.

6. Plaintiff is an individual with numerous disabilities including spinal stenosis,

which causes a restriction to his spinal canal, resulting in a neurological deficit. At the time of
Plaintiff’s initial visit to the Premises on October 30, 2013, and also at the time of his follow up
visit to the Premises in March 2014, (and prior to instituting this action), Plaintiff suffered from a
“qualified disability” under the ADA, and required the use of a handicap parking space, parking
access aisle and the use of a liii for pool and Jacuzzi accessibility. Plaintiff personally visited the
Prernises, but was denied full and equal access and full and equal enjoyment of the facilities,
services, goods, and amenities within the Premises, even though he would be classified as a

“bona fide patron”.

Case 2:14-cV-00228-.]ES-CI\/| Document 1 Filed 04/21/14 Page 3 of 8 Page|D 3

7. Plaintiff will avail himself of the services offered at the Premises in the DJture,
provided that Defendant modifies the Premises or modifies the policies and practices to
accommodate individuals who have physical disabilities

8. Completely independent of the personal desire to have access to this place of
public accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the
purpose of discovering, encountering and engaging discrimination against the disabled in public
accommodations When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff
personally visits the public accommodation; engages all of the barriers to access, or at least of
those that Plaintiff is able to access; tests all of those barriers to access to determine whether and
the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such
discrimination; and subsequently returns to the Premises to verify its compliance or non-
compliance with the ADA and to otherwise use the public accommodation as members of the
able-bodied community are able to do. lndependent of other subsequent visits, Plaintiff also
intends to visit the Premises regularly to verify its compliance or non-compliance with the ADA,
and its maintenance of the accessible features of the Premises. In this instance, Plaintiff, in
Plaintiff’s individual capacity and as a “tester”, visited the Premises, encountered barriers to
access at the Premises, and engaged and tested those barriers, suffered legal harm and legal
injury, and will continue to suffer such harm and injury as a result of the illegal barriers to access
and the ADA violations set forth herein. It is Plaintist belief that said violations will not be
corrected without Court intervention, and thus Plaintiff will suffer legal harm and injury in the

near future.

VIOLATlONS OF THE AMERICANS WITH DISABILITIES ACT

Case 2:14-cV-00228-.]ES-CI\/| Document 1 Filed 04/21/14 Page 4 of 8 Page|D 4

9. Plaintiff adopts and re-alleges the allegations stated in paragraphs l through 8
above as if fully stated herein.

10. On July 26, 1990, Congress enacted the Americans With Disabilities Act
(“ADA”), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one and a half (1.5)
years from enactment of the statute to implement its requirements 'I`he effective date of Title III
of the ADA was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer
employees and gross receipts of $500,000.00 or less. See 42 U.S.C. §12182; 28 C.F.R.
§36.508(a).

ll. Congress found, among other things, that:

a. some 43,000,000 American have one or more physical or mental disabilities and
this number shall increase as the population continues to grow older;

b. historically, society has tended to isolate and segregate individuals with
disabilities and, despite some improvements, such forms of discrimination against
disabled individuals continue to be a pervasive social problem, requiring serious
attention;

c. discrimination against disabled individuals persists in such critical areas as
employment, housing, public accommodations transportation, communication,
recreation, institutionalization, health services, voting and access to public
services and public facilities;

d. individuals with disabilities continually suffer forms of discrimination, including
outright intentional exclusion, the discriminatory effects of architectural,
transportation, and communication barriers, failure to make modifications to

existing facilities and practices Exclusionary qualification standards and criteria,

Case 2:14-cV-00228-.]ES-CI\/| Document 1 Filed 04/21/14 Page 5 of 8 Page|D 5

segregation, and regulation to lesser services, programs, benefits, or other
opportunities; and

the continuing existence of unfair and unnecessary discrimination and prejudice
denies people with disabilities the opportunity to compete on an equal basis and to
pursue those opportunities for which our country is justifiably famous, and
accosts the United States billions of dollars in unnecessary expenses resulting

from dependency and non-productivity.

42 u.s.c. §12101(a)(1)-(3),(5) and (9).

12.

Congress explicitly stated that the purpose of the ADA was to:
provide a clear and comprehensive national mandate for elimination of

discrimination against individuals with disabilities;

. provide clear, strong, consistent, enforceable standards addressing discrimination

against individuals with disabilities; and
invoke the sweep of congressional authority, including the power to enforce the
fourteenth amendment and to regulate commerce, in order to address the major

areas of discrimination faced on a daily basis by people with disabilities

42 U.s.c. §12101(b)(1)(2) and (4).

13.

Pursuant to 42 U.S.C. §12182(7), 28 CFR §36.104 and the 2010 ADA Standards,

Defendant’s Premises is a place of public accommodation covered by the ADA by the fact it

provides services to the general public and must be in compliance therewith. The building and/or

Premises, which is the subject of this action, is a public accommodation covered by the ADA and

which must be in compliance therewith.

Case 2:14-cV-OO228-.]ES-CI\/| Document 1 Filed 04/21/14 Page 6 of 8 Page|D 6

b. Handicap parking access aisle does not comply with required width and length

markings 2010 ADAAG §502.3;
, c. Incorrect identification for parking. 2010 ADAAG §502.6;

d. Office entrance doorways (egress to) exceed the maximum vertical change in
level necessary to the office. (Improper slope of ramp). 2010 ADAAG §§206.2.2,
303;

e. Parking space is on a slope and is not level with access aisle. 2010 ADAAG
§§502.3 and 502.4; and

f. Outdoor pool doesn’t provide an accessible means of entry by failing to provide a
required swimming pool lift. 2010 ADAAG §§242.1 and 1009.2.

19. To the best of Plaintist belief and knowledge, Defendant has failed to eliminate
the specific violations set forth in paragraph 18 herein.

20. Subsequent to the date of PlaintifPs original visit to the Premises, an expert
determined that the violations referenced above were still outstanding Although Defendant is
charged with having knowledge of the violations, Defendant may not have actual knowledge of
said violations until this Complaint makes Defendant aware of same.

21. To date, the readily achievable barriers and other violations of the ADA still exist
and have not been remedied or altered in such a way as to effectuate compliance with the
provisions of the ADA.

22. Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 CFR §36.304, Defendant
was required to make the establishment a place of public accommodation, accessible to persons
with disabilities by January 28, 1992. As of the date of the filing of this Complaint, Defendant

has failed to comply with this mandate.

Case 2:14-cV-OO228-.]ES-CI\/| Document 1 Filed 04/21/14 Page 7 of 8 Page|D 7

23. Plaintiff has retained the undersigned counsel for the filing and prosecution of this
action, Plaintiff is entitled to have his reasonable attomeys’ fees, costs and expenses paid by
Defendant, pursuant to 42 U.S.C. §12205.

24. All of the above violations are readily achievable to modify in order to bring the
Premises or the Facility/Property into compliance with the ADA.

25. In instances where the 2010 ADAAG standard does not apply, the 1991 ADAAG
standard applies and all of the violations listed in paragraph 18 herein can be applied to the 1991
ADAAG standards

26. Pursuant to 42 U.S.C. §12188 this Court is vested with the authority to grant
Plaintiff`s injunctive relief, including an order to alter the Premises to make them readily
accessible to and useable by individuals with disabilities to the extent required by the ADA and
closing the Premises until the requisite modifications are completed.

WHEREFORE, Plaintiff demands judgment against Defendant and requests the
following injunctive and declaratory relief:

l. This Court declare that the Premises owned, operated and/or controlled by
Defendant is in violation of the ADA.;

2. This Court enter an Order requiring Defendant to alter their facilities to make
them accessible to and usable by individuals with disabilities to the full extent
required by Title III of the ADA;

3. This Court enter an Order directing Defendant to evaluate and neutralize their
policies, practices and procedures toward persons with disabilities, for such
reasonable time so as to allow Defendant to undertake and complete corrective

procedures to the Premises;

Case 2:14-cV-OO228-.]ES-CI\/| Document 1 Filed 04/21/14 Page 8 of 8 Page|D 8

4. This Court award reasonable attomey’s fees, all costs (including, but not limited
to the court costs and expert fees) and other expenses of suit to Plaintiff; and
5. This Court award such other and further relief as it may deem necessary, just and

proper.

Dated this lig-gay of qul(l/¢ ZO/l’/

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